  Case 4:14-cv-00539-O Document 22 Filed 10/17/14             Page 1 of 45 PageID 226



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION


       FREDRIC RUSSELL MANCE, JR., et al.,               §      Case No. 4:14-CV-00539-O
                                                         §
                       Plaintiffs,                       §
                                                         §
                       v.                                §
                                                         §
       ERIC HOLDER, et al.,                              §
                                                         §
                       Defendants.                       §


                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                     PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       COME NOW the Plaintiffs, Fredric Russell Mance, Jr., Tracey Ambeau Hanson,

Andrew Hanson, and Citizens Committee for the Right to Keep and Bear Arms, by and through

undersigned counsel, and submit their Memorandum of Points and Authorities in Support of

Plaintiffs’ Motion for Summary Judgment.

       Dated: October 17, 2014                 Respectfully submitted,

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   Case 4:14-cv-00539-O Document 22 Filed 10/17/14                                                Page 2 of 45 PageID 227



                                                         TABLE OF CONTENTS



Table of Authorities. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . iii

Preliminary Statement. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

Statement of Facts. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

           A.         The Legal Framework for Interstate Handgun Transactions. . . . . . . . . . . . . . . . . . 2

                      1.         Federal Law. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

                      2.         Texas Law. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3

                      3.         District of Columbia Law. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4

           B.         The Plaintiffs. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6

           C.         Plaintiffs’ Experience Under the Federal Interstate Handgun Transfer Ban. . . . . . 7

Summary of Argument.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9

Argument. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10

           I.         The Government Bears the Burden of Proving that Laws Burdening
                      Second Amendment Rights Pass Heightened Scrutiny Review. . . . . . . . . . . . . . 10

           II.        The Second Amendment Protects the Right of Responsible, Law-Abiding
                      Adults to Purchase Handguns Throughout the United States. . . . . . . . . . . . . . . . 13

                      A.         The Second Amendment Protects the Right to Keep Handguns. . . . . . . . 13

                      B.         Because the Second Amendment Secures a Right to Keep Handguns,
                                 It Necessarily Secures a Right to Acquire Handguns.. . . . . . . . . . . . . . . . 15

                      C.         Prohibiting the Purchase of Arms Based on Residence Is a
                                 Novel Practice. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21




                                                                        i
   Case 4:14-cv-00539-O Document 22 Filed 10/17/14                                                Page 3 of 45 PageID 228



           III.       The Interstate Handgun Transfer Ban Fails Any Level of
                      Means-Ends Scrutiny. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 27

                      A.         The Interstate Handgun Transfer Ban Is Subject to Strict Scrutiny. . . . . . 27

                      B.         Blanket Prohibition of Interstate Handgun Transfers Does Not
                                 Properly Fit Any Governmental Interest. . . . . . . . . . . . . . . . . . . . . . . . . . 30

           IV.        The Interstate Handgun Transfer Ban Violates Plaintiffs’
                      Right to Equal Protection.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 33

Conclusion. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 35




                                                                       ii
   Case 4:14-cv-00539-O Document 22 Filed 10/17/14                                          Page 4 of 45 PageID 229



                                                   TABLE OF AUTHORITIES

Cases

Adamson v. California,
      332 U.S. 46 (1947) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21

Andrews v. State,
      50 Tenn. 165 (1871).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15

Annex Books, Inc. v. City of Indianapolis,
      581 F.3d 460 (7th Cir. 2010) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 28

Ashcroft v. ACLU,
       542 U.S. 656 (2004).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 31

Bolling v. Sharpe,
       347 U.S. 497 (1954).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 33

Buckley v. Valeo,
       424 U.S. 1 (1976) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 34

Califano v. Jobst,
       434 U.S. 47 (1977).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13

Carey v. Population Serv., Int’l,
       431 U.S. 678 (1977) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15, 28

Citizens United v. FEC,
       130 S. Ct. 876 (2010) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 31

District of Columbia v. Heller,
        554 U.S. 570 (2008).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . passim

Ezell v. City of Chicago,
        651 F.3d 684 (7th Cir. 2011) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12, 30

Gilbert Equip. Co. v. Higgins,
       709 F. Supp. 1071 (S.D. Ala.1989). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20

Gonzales v. Carhart,
      550 U.S. 124 (2007).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13



                                                                   iii
   Case 4:14-cv-00539-O Document 22 Filed 10/17/14                                          Page 5 of 45 PageID 230



Griswold v. Connecticut,
      381 U.S. 479 (1965).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21

Harrott v. County of Kings,
       25 Cal.4th 1138, 25 P.3d 649 (2001) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32

Heller v. District of Columbia,
       670 F.3d 1244 (D.C. Cir. 2011). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

Ill. Ass’n of Firearms Retailers v. City of Chicago,
         961 F. Supp. 2d 928 (N.D. Ill. 2014). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16, 17, 22, 27

Malloy v. Hogan,
       378 U.S. 1 (1964).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21

Martin v. Harrington & Richardson, Inc.,
       743 F.2d 1200 (7th Cir. 1984). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15

McDonald v. City of Chicago,
     130 S. Ct. 3020 (2010) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12, 13, 24

Mont. Shooting Sports Ass’n v. Holder, No. 09-cv-147,
       2010 U.S. Dist. LEXIS 104301 (D. Mont. Aug. 31, 2010). . . . . . . . . . . . . . . . . . . . . . . . 20

Moore v. Madigan,
      702 F.3d 933 (7th Cir. 2012) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22

Nat’l Rifle Ass’n of Am., Inc. v. Bureau of Alcohol, Tobacco, Firearms & Explosives,
       700 F.3d 185 (5th Cir. 2012) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . passim

Olympic Arms v. Magaw,
      91 F. Supp. 2d 1061( E.D. Mich.2000). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20

O’Reilly v. Bd. of Appeals,
       942 F.2d 281 (4th Cir. 1991) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 31

Parker v. District of Columbia,
       478 F.3d 370 (D.C. Cir. 2007). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13

Patsone v. Pennsylvania,
       232 U.S. 138 (1914).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13




                                                                   iv
   Case 4:14-cv-00539-O Document 22 Filed 10/17/14                                         Page 6 of 45 PageID 231



Peoples Rights Org. v. City of Columbus,
       152 F.3d 522 (6th Cir. 1998) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32

Peruta v. Cnty. of San Diego,
       742 F.3d 1144 (9th Cir. 2014). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22

Reliable Consultants, Inc. v. Earle,
       517 F.3d 738 (5th Cir. 2008). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15, 19, 21

Richmond Newspapers v. Virginia,
      448 U.S. 555 (1980).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15

Romer v. Evans,
      517 U.S. 620 (1996).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 34

Schad v. Mt. Ephraim,
       452 U.S. 61 (1981) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 30

Schneider v. State,
       308 U.S. 147 (1939).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 30

Silvester v. Harris, No. 1:11-CV-2137,
        2014 U.S. Dist. LEXIS 118284 (E.D. Cal. Aug. 25, 2014). . . . . . . . . . . . . . . . . . . . . 14, 15

Springfield Armory v. City of Columbus,
       29 F.3d 250 (6th Cir. 1994). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32

Strickland v. State,
        137 Ga. 1, 72 S.E. 260 (Ga. 1911).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25

Supreme Court of New Hampshire v. Piper,
      470 U.S. 274 (1985).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32

Teixeira v. Cnty. of Alameda, No. 12-cv-03288,
       2013 U.S. Dist. LEXIS 128435 (N.D. Cal. Sept. 9, 2013). . . . . . . . . . . . . . . . . . . . . . . . 20

United States v. 12 200-Foot Reels of Super 8mm. Film,
       413 U.S. 213 (1973).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19

United States v. Carolene Products Co.,
       304 U.S. 144 (1938).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13




                                                                   v
   Case 4:14-cv-00539-O Document 22 Filed 10/17/14                                            Page 7 of 45 PageID 232



United States v. Chafin,
       423 Fed. Appx. 342 (4th Cir. 2011).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19, 20

United States v. Chester,
       628 F.3d 673 (4th Cir. 2010). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

United States v. Chovan,
       735 F.3d 1127 (9th Cir. 2013). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

United States v. Cruikshank,
       92 U.S. 542 (1876) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23

United States v. Day,
       476 F.2d 562 (6th Cir. 1973). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18

United States v. Decastro,
       682 F.3d 160 (2d Cir. 2012).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

United States v. King,
       532 U.S. 505 (5th Cir. 1976). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18-20

United States v. Marzzarella,
       614 F.3d 85 (3d Cir. 2010).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17, 20, 31

United States v. Masciandaro,
       638 F.3d 458 (4th Cir. 2011) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 28

United States v. Miller,
       307 U.S. 174 (1939).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18, 19

Virginia v. Am. Booksellers Ass’n,
       484 U.S. 383 (1988) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21

Zablocki v. Redhail,
       434 U.S. 374 (1978).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13



Statutes and Regulations

18 U.S.C. § 921(a)(2).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

18 U.S.C. § 922(a)(3) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2


                                                                     vi
   Case 4:14-cv-00539-O Document 22 Filed 10/17/14                                             Page 8 of 45 PageID 233



18 U.S.C. § 922(a)(5) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

18 U.S.C. § 922(b)(3). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2, 3, 7

27 C.F.R. § 478.96(c)(1). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3

27 C.F.R. § 478.96(c)(2). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3

27 C.F.R. § 478.99 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

D.C. Code § 7-2502.01(a). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4

D.C. Code § 7-2502.06(a). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4, 32

D.C. Code § 7-2505.01. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4

D.C.M.R. § 24-2320.3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5

D.C.M.R. § 24-2320.3(b)(2). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5

D.C.M.R. § 24-2320.3(f). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5

Haw. Rev. Stat. § 134-2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32

Mich. Comp. Laws § 28.422(1). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32

N.C. Gen. Stat. § 14-402(a). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32

N.J. Stat. Ann. § 2C:58-3(d). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25


Other Authorities

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58 D.C. Register No. 38, at 008240-008241 (September 23, 2011),
      available at http://www.dcregs.dc.gov/Gateway/
      NoticeHome.aspx?noticeid=1742040
      (last visited October 10, 2014).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5




                                                                     vii
   Case 4:14-cv-00539-O Document 22 Filed 10/17/14                                      Page 9 of 45 PageID 234



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      available at http://www.dcregs.dc. gov/Gateway/
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      (last visited October 10, 2014).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5

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      Certificate, PD-219, available at http://mpdc.dc.gov/sites/default/files/dc/
      sites/mpdc/service_ content/attachments/PD-219%20Firearms%20
      Registration%20Application(Rev0613)_fillable.pdf (last visited Oct. 10, 2014). . . . . . . . 4

Some Considerations on the Game Laws (1796).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16

The Writings of Thomas Jefferson
      (T.J. Randolph, ed., 1830). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16




                                                               viii
  Case 4:14-cv-00539-O Document 22 Filed 10/17/14                 Page 10 of 45 PageID 235



                   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                       PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

                                     PRELIMINARY STATEMENT

       American constitutional law simply does not permit the Government to prohibit the

exercise of a fundamental right in one place, on grounds that the right may be exercised

somewhere else. A strong, constitutionally-adequate reason must justify any law confining the

exercise of a fundamental right to one’s state of residence. This Court would not hesitate to strike

down laws barring, without more, the interstate transfer of books, religious articles,

contraceptives, or any other thing that precedent imbues with constitutional protection.

       Handguns should be no different. The federal government’s prohibition of a national

handgun market cannot survive the Supreme Court’s finding that Americans have a fundamental

individual right to keep and bear handguns. Whatever regulations might be designed to deny

handguns to dangerous people, responsible, law-abiding Americans do not become less so merely

by shopping across state lines.

       Plaintiffs are fully qualified to buy and sell handguns under federal law, and they have the

blessing of their local authorities in seeking to buy and sell handguns from each other. The only

impediment to their doing so is the Government’s prohibition of handgun transactions that cross

state lines, no matter the circumstances, even as the Government would not interfere with

Plaintiffs’ lawful interstate rifle and shotgun transactions.

       No reason, much less a constitutionally-adequate reason, exists to limit lawful handgun

acquisition to one’s state of residence. That much is clearly demonstrated by the individual




                                                   1
 Case 4:14-cv-00539-O Document 22 Filed 10/17/14                   Page 11 of 45 PageID 236



consumer Plaintiffs, who reside in a “state” that demands police pre-approval for the acquisition

of firearms from any source—and expressly welcomes interstate handgun sales.

       The Government reasons that it must ban interstate handgun sales to prevent individuals

from circumventing local handgun laws. But local laws also regulate long gun transactions.

Provided they comply with all federal, state, and local laws, individuals are free to take

possession of rifles and shotguns—but not handguns—from federally-licensed firearms dealers

anywhere in the United States. If licensed firearms dealers in Texas can be trusted to demand,

and honor, Washington’s rifle transfer authorizations, there is no reason to bar them from

processing identical certificates issued for the transfer of handguns.

       Respectfully, Plaintiffs are entitled to summary judgment.

                                       STATEMENT OF FACTS

       A.      The Legal Framework for Interstate Handgun Transactions.

               1.      Federal Law

       Title 18 U.S.C. §§ 922(a)(3) and (5) forbid individuals from transporting into or receiving

in their state of residence any firearm acquired outside that state since December 16, 1968,

except for firearms acquired by bequest or intestate succession, or pursuant to a transfer from a

federally-licensed dealer that complies with 18 U.S.C. § 922(b)(3). For purposes of these

provisions, the District of Columbia is a “state.” 18 U.S.C. § 921(a)(2).

       Title 18, U.S.C. § 922(b)(3) and 27 C.F.R. § 478.99 bar licensed federal firearms dealers

from transferring firearms to individuals who do not reside within the state in which the dealers’

place of business is located. A significant exception to this prohibition allows a dealer to transfer

rifles and shotguns to individuals residing out-of-state:


                                                  2
 Case 4:14-cv-00539-O Document 22 Filed 10/17/14                   Page 12 of 45 PageID 237



       if the transferee meets in person with the transferor to accomplish the transfer, and the
       sale, delivery, and receipt fully comply with the legal conditions of sale in both such
       States (and any licensed manufacturer, importer or dealer shall be presumed, for purposes
       of this subparagraph, in the absence of evidence to the contrary, to have had actual
       knowledge of the State laws and published ordinances of both States) . . .


18 U.S.C. § 922(b)(3). Title 27 C.F.R. § 478.96(c)(1) reiterates that interstate rifle or shotgun

transactions are lawful provided:

       (i)     The purchaser meets with the licensee in person at the licensee’s premises to
               accomplish the transfer, sale, and delivery of the rifle or shotgun;

       (ii)    The licensed importer, licensed manufacturer, or licensed dealer complies with the
               provisions of § 478.102; [requiring a background check]

       (iii)   The purchaser furnishes to the licensed importer, licensed manufacturer, or
               licensed dealer the firearms transaction record, Form 4473, required by § 478.124;
               and

       (iv)    The sale, delivery, and receipt of the rifle or shotgun fully comply with the legal
               conditions of sale in both such States.

       Pursuant to 27 C.F.R. § 478.96(c)(2),

       [A]ny licensed manufacturer, licensed importer, or licensed dealer is presumed, in the
       absence of evidence to the contrary, to have had actual knowledge of the State laws and
       published ordinances of both such States.

       By operation of these provisions, individuals who want to acquire handguns at retail, or

from individuals in other states, may only take delivery of such handguns from a federal firearms

licensee in the state wherein they reside. But individuals may purchase rifles and shotguns freely

across state lines provided they do so in person, comply with local laws, fill out standard federal

forms, and undergo a background check.

               2.      Texas Law

       Texas law does not forbid the sale of handguns to people residing outside of Texas.


                                                  3
  Case 4:14-cv-00539-O Document 22 Filed 10/17/14                     Page 13 of 45 PageID 238



                  3.      District of Columbia Law

        The District of Columbia requires that all firearms be registered, D.C. Code § 7-

2502.01(a), but does not prohibit the importation of firearms. It requires only that “[a]n

application for a registration certificate shall be filed (and a registration certificate issued) prior to

taking possession of a firearm from a licensed dealer or [other registrant],”1 and “[i]n all other

cases, an application for registration shall be filed immediately after a firearm is brought into the

District” within 48 hours of providing notice to the police department. D.C. Code § 7-2502.06(a).

        Accordingly, firearms dealers outside the District of Columbia may (and do) transfer

rifles and shotguns to District residents upon presentation of approved registration certificates.2

The District of Columbia utilizes a single form, PD-219, that serves as the application to register

any type of firearm, without distinction between handguns and long guns, and which serves as

the registration certificate when stamped “APPROVED” and labeled with a registration number.3

        As for handgun purchases, District of Columbia law specifically allows a handgun buyer

to transport handguns “from the place of purchase to his or her home.” D.C. Code §

22-4505(a)(6). A handgun buyer must “[o]btain assistance necessary to complete the

[registration] application by presenting the firearm registration application to a firearms dealer

licensed under federal law . . . (2) [l]ocated outside the District if the firearm is purchased outside


        1
            District law forbids individual-to-individual firearms transfers. D.C. Code § 7-2505.01.
        2
         Individuals relocating to the District may import firearms they acquired as residents of
other states. D.C. Code § 7-2502.06(a).
        3
        See Metropolitan Police Dept. (Washington, D.C.), Application for Firearms
Registration Certificate, PD-219, available at http://mpdc.dc.gov/sites/default/files/dc/sites/
mpdc/servicecontent/attachments/PD-219%20Firearms%20Registration%20
Application(Rev0613)_fillable.pdf (last visited Oct. 10, 2014).

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 Case 4:14-cv-00539-O Document 22 Filed 10/17/14                   Page 14 of 45 PageID 239



the District.” D.C.M.R. § 24-2320.3(b)(2). Following approval, the handgun purchaser must

       Present the approved firearm registration application to the dealer licensed under federal
       law or, if federal law such as 18 U.S.C. § 922 prohibits the dealer from delivering the
       pistol to the applicant because the dealer is not within the District of Columbia, have that
       firearms dealer transport the pistol to a dealer located within the District, where the
       applicant will take delivery of the pistol.

D.C.M.R. § 24-2320.3(f).

       Accordingly, but for the federal interstate handgun transfer ban, Washington, D.C.

residents are legally authorized to take delivery of handguns they purchase across state lines.

       This was not always the case. Until 2011, District law required that all handgun sales be

processed through a D.C.-based licensed dealer. See D.C.M.R. § 24-2320.3(f) (2010). But on

August 19, 2011, the District of Columbia’s Police Commissioner published a notice of

Emergency and Proposed Rulemaking, amending D.C.M.R. § 24-2320.3 into its present form to

“clarify” that District residents are forbidden from acquiring handguns outside the District, and

must ship any handguns purchased outside the District to an in-District dealer for final transfer,

only if required by federal law: “[s]hould the federal law change, then that requirement will no

longer be applicable to any District firearms registration applicant.”4

       Emergency rulemaking is necessitated by an immediate need to preserve and promote the
       public welfare by having the amendment immediately effective so as to assist District
       residents in the exercise of their constitutional right to possess a handgun for self defense
       within their home.

Id. This amendment was made permanent on September 23, 2011.5


       4
        See 58 D.C. Register, No. 33, at 007572-007573 (August 19, 2011), available at
http://www.dcregs.dc.gov/Gateway/NoticeHome.aspx?noticeid=1544548 (last visited October
10, 2014).
       5
        See 58 D.C. Register No. 38, at 008240-008241 (September 23, 2011), available at
http://www.dcregs.dc.gov/Gateway/NoticeHome.aspx?noticeid=1742040 (last visited October

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  Case 4:14-cv-00539-O Document 22 Filed 10/17/14                  Page 15 of 45 PageID 240



        B.     The Plaintiffs.

        Plaintiff Frederic Mance holds a Federal Firearms License (“FFL”), pursuant to which he

retails handguns in Arlington, Texas. Appendix (“Appx”) at 1. Plaintiffs Tracey and Andrew

Hanson, a married couple, reside in Washington, D.C. Id. at 4, 5, 7, 8. All three are members of

Plaintiff Citizens Committee for the Right to Keep and Bear Arms (“the Committee”), a non-

profit membership association dedicated to promoting the benefits of the right to bear arms.,

whose members buy and sell handguns throughout the United States. Id. at 10.

        Tracey and Andrew Hanson are each over the age of 21, are not under indictment, have

never been convicted of a felony or misdemeanor crime of domestic violence, are not fugitives

from justice, are not unlawful users of or addicted to any controlled substance, have not been

adjudicated mental defectives or committed to a mental institution, have not been discharged

from the Armed Forces under dishonorable conditions, have never renounced their citizenship,

and have never been the subject of a restraining order relating to a child or an intimate partner.

Id. at 4, 7.

        Apart from the individual Plaintiffs, the Committee’s members include law-abiding,

responsible Americans throughout the United States who desire to, and do, purchase handguns

for traditional lawful purposes, including self-defense. Some of the Committee’s members reside

in states that, like the District of Columbia, do not prohibit purchasing handguns out of state.

Some of the Committee’s members also reside in states that, like the District of Columbia,

require a license or pre-registration to purchase handguns. The Committee’s other members also

include law-abiding, responsible Americans throughout the United States who desire to, and do,


10, 2014).

                                                  6
 Case 4:14-cv-00539-O Document 22 Filed 10/17/14                  Page 16 of 45 PageID 241



sell handguns for traditional lawful purposes, including self-defense. Some of these Committee

members sell handguns in states that do not forbid the sale of handguns to non-residents. App.

10-11.

         C.     Plaintiffs’ Experience Under the Federal Interstate Handgun Transfer Ban

         Mance would sell handguns directly to consumers residing in other states, and in the

District of Columbia, to the extent lawful under state and District law, but refrains from doing so

because that conduct is prohibited by the federal interstate handgun transfer ban, 18 U.S.C. §

922(b)(3). Appx. at 1. Mance reasonably fears arrest, prosecution, incarceration, and fine were he

to violate the law. Accordingly, when handgun consumers residing outside Texas approach

Mance about purchasing handguns, he declines to engage in those sales, and instead, offers only

to ship the consumers’ desired handguns to dealers in their states or the District of Columbia for

transfer there. Compliance with the federal interstate handgun transfer ban thus makes Mance’s

handguns more expensive for these out-of-state consumers, to say nothing of the delay inherent

in completing such transactions. The federal interstate handgun ban has and continues to cost

Mance sales. Id.

         The Hansons would shop for and buy handguns directly from federally-licensed dealers

outside of Washington, D.C., to the extent lawful under state and District law, but refrain from

doing so because that conduct is prohibited by the federal interstate handgun transfer ban, 18

U.S.C. § 922(b)(3). Id. at 4, 7. The Hansons fear arrest, prosecution, incarceration, and fine were

they to violate the law. Because they cannot directly access the national handgun market outside

of Washington, D.C., the Hansons face higher costs in purchasing handguns. Any handgun that

they would purchase outside of Washington, D.C. would have to be shipped, at their expense, to


                                                 7
  Case 4:14-cv-00539-O Document 22 Filed 10/17/14                    Page 17 of 45 PageID 242



an “in state” federal licensee, assuming the seller is even willing to effect such shipments. The

receiving federal licensee would then charge them a fee to complete the transfer. This insulates

any D.C.-based firearms retailer from competition and severely limits the Hansons’ choice as

consumers. Indeed, there are no federally-licensed firearms retailers in Washington, D.C., and the

only licensee willing to effect a transfer charges $125. Id. at 4, 5, 7, 8.

        Because District of Columbia law allows the Hansons to purchase handguns directly out-

of-state, and there are various states that do not prohibit the Hansons, as D.C. residents, from

acquiring handguns, it is only the federal interstate handgun transfer ban that causes them to

sustain shipping and transfer fees when buying handguns. Id. at 5, 8.

        On June 21, 2014, the Hansons visited Mance at his place of business in Arlington,

Texas, as they were each in the market for the purchase of handguns for self-defense. The

Hansons each identified a handgun in Mance’s inventory that is legal for them to possess in

Washington, D.C., and which they would have purchased from Mance directly, and which he

would have sold them directly, if only it were legal to do so. Id. at 2, 5, 8.

        Because the Hansons do not reside in Texas, and do not wish to violate federal law, they

would not take delivery of a handgun from Mance, nor would they bring a handgun purchased

directly outside of Washington, D.C. to their home. Nor would the Hansons make any false

statement on a Form 4473. Mance would not transfer any handgun to the Hansons, because doing

so would violate the federal interstate handgun transfer ban. Id.

        Rather than violate the law, or have the handguns shipped at the Hansons’ expense for

transfer through a District of Columbia-based federal firearms licensee, Mance and the Hansons

agreed to refrain from completing any handgun transfers unless it became legal for the Hansons


                                                   8
 Case 4:14-cv-00539-O Document 22 Filed 10/17/14                    Page 18 of 45 PageID 243



to take delivery of the handgun from Mance. The three memorialized that intent by completing,

in each other’s presence as required by District of Columbia law, the District of Columbia’s PD-

219 form. Mance verified that the Hansons’ credit card would be valid to complete the purchase,

but no money, or firearms, changed hands. Id. at 2, 5, 6, 8, 9.

       But for the federal interstate handgun transfer ban, the Hansons would directly purchase

the handgun from Mance. The Hansons would also shop for, and purchase, handguns from other

dealers outside of Washington, D.C., Id. at 6, 9, and Mance would sell handguns to other

consumers throughout the country, Id. at 2. Other Committee members would likewise buy and

sell handguns across state lines, but for the interstate handgun transfer ban. Id. at 10, 11.

                                     SUMMARY OF ARGUMENT

       The interstate handgun transfer ban easily fails the Fifth Circuit’s two-step analytical

approach to Second Amendment cases. First, the act of purchasing handguns is obviously within

the scope of the Second Amendment’s protection. As there is a right to keep and carry handguns,

there is, plainly, the right to sell and acquire them. The Government’s contrary arguments simply

defy credulity, as does the Government’s argument that longstanding tradition accepts the

prohibition of gun sales to residents of other states. The sources purportedly justifying that

assertion simply do not hold up to scrutiny.

       Because barring non-state residents from trading in handguns is unknown to the Second

Amendment’s tradition, this Court must apply heightened scrutiny to the interstate handgun

transfer ban. The proper standard of review would be strict scrutiny, but in the end, the precise

standard of review is unimportant. Even under intermediate scrutiny, the Government cannot

show that this law is properly tailored to advancing any important regulatory interests. Accepting


                                                  9
     Case 4:14-cv-00539-O Document 22 Filed 10/17/14                Page 19 of 45 PageID 244



fully that the Government has an anti-circumvention interest in ensuring that people comply with

their local jurisdiction’s firearm laws, federal law already demonstrates the proper way to

advance that interest: require FFLs to follow the law, as is already the case when Americans go

shopping for rifles and shotguns outside their home states.

         Indeed, the interstate handgun transfer ban works to defeat the interests of those states

and localities, such as Texas and Washington, D.C., whose laws allow and even encourage the

interstate handgun trade.

         Respectfully, Plaintiffs are entitled to summary judgment.

                                             ARGUMENT

I.       THE GOVERNMENT BEARS THE BURDEN OF PROVING THAT LAWS BURDENING SECOND
         AMENDMENT RIGHTS PASS HEIGHTENED SCRUTINY REVIEW .

         The Second Amendment functions as a normal constitutional right. As the Supreme Court

demonstated, some laws will be struck down for conflicting with the right’s core guarantee,

without further analysis. District of Columbia v. Heller, 554 U.S. 570 (2008). In Heller, once it

was determined that the Second Amendment secures a right to have handguns for self-defense,

city ordinances banning handguns and the keeping of functional firearms simply could not

survive. “The Court invalidated the laws because they violated the central right that the Second

Amendment was intended to protect . . . .” Nat’l Rifle Ass’n of Am., Inc. v. Bureau of Alcohol,

Tobacco, Firearms & Explosives, 700 F.3d 185, 193 (5th Cir. 2012) (“NRA”). Other cases lend

themselves to different constitutional tests, e.g., gun licensing laws affording unbridled discretion

could be viewed as prior restraints, and disarmed individuals may raise as-applied challenges

based on their personal circumstances.



                                                  10
 Case 4:14-cv-00539-O Document 22 Filed 10/17/14                   Page 20 of 45 PageID 245



       But in large part, when Second Amendment claims arise,

       [a] two-step inquiry has emerged as the prevailing approach: the first step is to determine
       whether the challenged law impinges upon a right protected by the Second Amendment—
       that is, whether the law regulates conduct that falls within the scope of the Second
       Amendment’s guarantee; the second step is to determine whether to apply intermediate or
       strict scrutiny to the law, and then to determine whether the law survives the proper level
       of scrutiny.

NRA, 700 F.3d at 194 (citations omitted). The Fifth Circuit follows this approach in appropriate

cases, Id., and this case appears to be well-suited to this approach.

       “To determine whether a law impinges on the Second Amendment right, we look to

whether the law harmonizes with the historical traditions associated with the Second Amendment

guarantee.” Id. (citations omitted). “If the challenged law burdens conduct that falls outside the

Second Amendment’s scope, then the law passes constitutional muster. If the law burdens

conduct that falls within the Second Amendment’s scope, we then proceed to apply the

appropriate level of means-ends scrutiny.” Id. at 195 (citations omitted).

       “[T]he appropriate level of scrutiny depends on the nature of the conduct being regulated

and the degree to which the challenged law burdens the right.” NRA, 700 F.3d at 195 (citations

omitted). But at least in the Fifth Circuit, rational basis review is unavailable. Means-ends

scrutiny in Second Amendment cases must always be heightened scrutiny—strict or intermediate:

       A regulation that threatens a right at the core of the Second Amendment—for example,
       the right of a law-abiding, responsible adult to possess and use a handgun to defend his or
       her home and family—triggers strict scrutiny. A less severe regulation—a regulation that
       does not encroach on the core of the Second Amendment—requires a less demanding
       means-ends showing. This more lenient level of scrutiny could be called “intermediate”
       scrutiny, but regardless of the label, this level requires the government to demonstrate a
       “reasonable fit” between the challenged regulation and an “important” government
       objective. This “intermediate” scrutiny test must be more rigorous than rational basis
       review, which Heller held “could not be used to evaluate the extent to which a legislature
       may regulate a specific, enumerated right” such as “the right to keep and bear arms.”


                                                 11
  Case 4:14-cv-00539-O Document 22 Filed 10/17/14                 Page 21 of 45 PageID 246




Id. (citations omitted).

        Other circuits are in accord. As the Seventh Circuit put it, “we know that Heller’s

reference to ‘any standard of scrutiny’ means any heightened standard of scrutiny; the Court

specifically excluded rational-basis review.” Ezell v. City of Chicago, 651 F.3d 684, 701 (7th Cir.

2011) (citation omitted). “[W]e reject rational basis review and conclude that some sort of

heightened scrutiny must apply.” United States v. Chovan, 735 F.3d 1127, 1137 (9th Cir. 2013).

“[T]he [Supreme] Court would apply some form of heightened constitutional scrutiny if a

historical evaluation did not end the matter.” United States v. Chester, 628 F.3d 673, 680 (4th

Cir. 2010).

        Unfortunately, the Government is able to cite to the minority position of two other

circuits, allowing for the application of rational basis review where the court determines that the

imposition is insubstantial. See Gov’t Br., Dkt. 16, at 28 (citing United States v. Decastro, 682

F.3d 160 (2d Cir. 2012); Heller v. District of Columbia, 670 F.3d 1244, 1260 (D.C. Cir. 2011)).

But these decisions contradict the Supreme Court’s instructions that the Fifth Circuit ably cited,

supra, as well as the Supreme Court’s admonition that courts lack “the power to decide on a

case-by-case basis whether the right is really worth insisting upon.” Heller, 554 U.S. at 634; cf.

McDonald v. City of Chicago, 130 S. Ct. 3020, 3050 (2010) (applying Second Amendment does

not “require judges to assess the costs and benefits of firearms restrictions and thus to make

difficult empirical judgments in an area in which they lack expertise”).

        As this case is controlled by Supreme Court and Fifth Circuit precedent, this Court need

not further consider the Government’s rational basis arguments. If the interstate handgun transfer



                                                12
  Case 4:14-cv-00539-O Document 22 Filed 10/17/14                  Page 22 of 45 PageID 247




ban implicates conduct secured by the Second Amendment—and assuredly, it does—the

Government bears a heightened scrutiny burden.6

II.    THE SECOND AMENDMENT PROTECTS THE RIGHT OF RESPONSIBLE , LAW -ABIDING
       ADULTS TO PURCHASE HANDGUNS THROUGHOUT THE UNITED STATES.

       A.      The Second Amendment Protects the Right to Keep Handguns.

       There is no question that the Second Amendment secures a right to possess handguns.

Heller, supra, 554 U.S. 570; McDonald, 130 S. Ct. 3020; see also Patsone v. Pennsylvania, 232

U.S. 138, 143 (1914) (“pistols . . . may be supposed to be needed occasionally for self-defence.”).

       The fact that other firearms may be available under terms less onerous than the ones

demanded for the acquisition of handguns is irrelevant. The D.C. Circuit dismissed as “frivolous”

the notion that handguns can be banned merely because other firearms are available. Parker v.

District of Columbia, 478 F.3d 370, 400 (D.C. Cir. 2007), aff’d sub nom Heller. “It could be

similarly contended that all firearms may be banned so long as sabers were permitted. Once it is

determined – as we have done – that handguns are ‘Arms’ referred to in the Second Amendment,


       6
         The Government asserts that “[t]he Court has frequently declined to employ elevated
constitutional scrutiny when analyzing regulations that do not impose a ‘substantial’ or
‘significant’ burden on a constitutional right.” Gov’t Br., Dkt. 16, at 27 (citing Zablocki v.
Redhail, 434 U.S. 374, 386 (1978); Califano v. Jobst, 434 U.S. 47, 48, 57 (1977); and Gonzales
v. Carhart, 550 U.S. 124, 157-58 (2007)). The statement is true—as far as it goes. These cases
did not overrule the requirement of heightened review when “legislation appears on its face to be
within a specific prohibition of the Constitution, as those of the first ten amendments . . .” Heller,
554 U.S. at 628 n.27 (quoting United States v. Carolene Products Co., 304 U.S. 144, 152 n.4
(1938)). The quoted passages discussed laws that might only tangentially impact a right. See,
e.g., Zablocki, 434 U.S. at 386 (no strict scrutiny for “every state regulation which relates in any
way to the incidents of or prerequisites for marriage”); Carhart, 550 U.S. at 157-58 (law “not
designed to strike at the right itself” and has “incidental effect” on right). The interstate handgun
transfer ban does not have an incidental, indirect, unintended impact on the right to arms—it
directly, on its face, targets and restricts the right.

                                                 13
  Case 4:14-cv-00539-O Document 22 Filed 10/17/14                      Page 23 of 45 PageID 248



it is not open to the District to ban them.” Id. (citation omitted).

        The Supreme Court agreed:

        It is no answer to say . . . that it is permissible to ban the possession of handguns so long
        as the possession of other firearms (i.e., long guns) is allowed. It is enough to note, as we
        have observed, that the American people have considered the handgun to be the
        quintessential self-defense weapon.

Heller, 554 U.S. at 629. The Supreme Court then listed various reasons why a handgun might be

more suitable for home self-defense than a long arm, and concluded, “[w]hatever the reason,

handguns are the most popular weapon chosen by Americans for self-defense in the home, and a

complete prohibition of their use is invalid.” Id.

        Similarly, the right to have a handgun is not diminished by the fact that one keeps, or has

access to, other handguns. Just as the First Amendment does not allow the rationing of books or

deities, the Second Amendment, without more, does not permit the rationing of handguns. This

much the Eastern District of California recently made clear, in striking down the application of

handgun purchase waiting periods to individuals who already possessed handguns. The state

argued that waiting periods did not burden the Second Amendment rights of those who already

had handguns, but the court held otherwise:

        [T]hat [Plaintiffs] have been able to exercise their Second Amendment right with respect
        to at least one firearm does not mean that they have diminished rights under the Second
        Amendment. The Second Amendment applies to “arms” and its language does not limit
        its full protections to a single firearm. Some firearms are better suited for particular
        lawful purposes than others.

Silvester v. Harris, No. 1:11-CV-2137, 2014 U.S. Dist. LEXIS 118284, at 75 n.33 (E.D. Cal.

Aug. 25, 2014).




                                                  14
  Case 4:14-cv-00539-O Document 22 Filed 10/17/14                   Page 24 of 45 PageID 249



        B.      Because the Second Amendment Secures a Right to Keep Handguns,
                It Necessarily Secures a Right to Acquire Handguns.

        “[C]ertain unarticulated rights are implicit in enumerated guarantees . . . fundamental

rights, even though not expressly guaranteed, have been recognized by the Court as indispensable

to the enjoyment of rights explicitly defined.” Richmond Newspapers v. Virginia, 448 U.S. 555,

579-80 (1980). The Second Amendment does not merely protect the right to possess the

handguns that someone might manufacture from raw materials.7 Because there is a right to

possess handguns, there is, necessarily, a right to acquire them. After all, “restricting the ability

to purchase an item is tantamount to restricting that item’s use.” Reliable Consultants, Inc. v.

Earle, 517 F.3d 738, 743 (5th Cir. 2008) (footnote omitted); accord Carey v. Population Serv.,

Int’l, 431 U.S. 678, 687-88 (1977) (“A total prohibition against the sale of contraceptives . . .

would intrude upon individual decisions in matters of procreation and contraception as harshly as

a direct ban on their use.”).

        Courts have long applied the Fifth Circuit’s Reliable Consultants logic, reflecting Carey’s

basic rule, to the right to keep and bear arms. “The right to keep and bear arms, necessarily

involves the right to purchase them . . .” Andrews v. State, 50 Tenn. 165, 178 (1871). “One

cannot exercise the right to keep and bear arms without actually possessing a firearm.” Silvester,

2014 U.S. Dist. LEXIS 118284, at *74 (citing Andrews). Although the “acquisition right is far

from absolute,” the Second Amendment “right must also include the right to acquire a firearm . .



        7
          Surely, the Second Amendment secures the right to make the arms that might then be
kept or carried. As the Seventh Circuit acknowledged, adopting tort doctrines “which would in
practice drive [handgun] manufacturers out of business, would produce a handgun ban by judicial
fiat in the face of” a constitutional right to handgun possession. Martin v. Harrington &
Richardson, Inc., 743 F.2d 1200, 1204 (7th Cir. 1984).

                                                  15
 Case 4:14-cv-00539-O Document 22 Filed 10/17/14                  Page 25 of 45 PageID 250



. .” Ill. Ass’n of Firearms Retailers v. City of Chicago, 961 F. Supp. 2d 928, 930 (N.D. Ill. 2014).

“Our citizens have always been free to make, vend and export arms. It is the constant occupation

and livelihood of some of them.” 3 THE WRITINGS OF THOMAS JEFFERSON 230 (T.J. Randolph,

ed., 1830).

       Indeed, the Supreme Court recognized, albeit in passing, the right to purchase arms.

“What law forbids the veriest pauper, if he can raise a sum sufficient for the purchase of it, from

mounting his Gun on his Chimney Piece . . .?” Heller, 554 U.S. at 583 n.7 (quoting SOME

CONSIDERATIONS ON THE GAME LAWS 54 (1796)).

       Some confusion may nonetheless arise from Heller’s cautionary statement, that

       [a]lthough we do not undertake an exhaustive historical analysis today of the full scope of
       the Second Amendment, nothing in our opinion should be taken to cast doubt on
       longstanding prohibitions on the possession of firearms by felons and the mentally ill, or
       laws forbidding the carrying of firearms in sensitive places such as schools and
       government buildings, or laws imposing conditions and qualifications on the commercial
       sale of arms.

Heller, 554 U.S. at 626-27. In a footnote, the Court offered that such laws are “presumptively

lawful.” Id. at 627 n.26.

       But it would not be a serious argument to claim that because some “laws imposing

conditions and qualifications on the commercial sale of arms” are “presumptively lawful,”

Heller, 554 U.S. at 626-27 & n.26, all such regulations are constitutional. Some limiting

principles must apply. As the Third Circuit explained,

       Commercial regulations on the sale of firearms do not fall outside the scope of the
       Second Amendment . . . In order to uphold the constitutionality of a law imposing a
       condition on the commercial sale of firearms, a court necessarily must examine the nature
       and extent of the imposed condition. If there were somehow a categorical exception for
       these restrictions, it would follow that there would be no constitutional defect in



                                                16
 Case 4:14-cv-00539-O Document 22 Filed 10/17/14                   Page 26 of 45 PageID 251



       prohibiting the commercial sale of firearms. Such a result would be untenable under
       Heller.

United States v. Marzzarella, 614 F.3d 85, 92 n.8 (3d Cir. 2010). Indeed, the Northern District of

Illinois had no trouble striking down Chicago’s prohibition on the commercial sale of firearms,

especially as the city could not show that banning gun sales was historically acceptable. Ill.

Retailers, 968 F. Supp. 2d at 937.

       The Fifth Circuit is in accord. In NRA, the Fifth Circuit considered the constitutionality of

federal laws banning FFL handgun sales to adults ages 18-20—plainly, in Heller’s phrasing,

“laws imposing conditions and qualifications on the commercial sale of arms.” Heller, 554 U.S.

at 626-27. Referencing Heller’s class of “presumptively lawful” laws, the Fifth Circuit expressed

confusion as to whether the Supreme Court meant that such laws are presumptively lawful

because they fall outside the Second Amendment’s scope, or presumptively lawful because they

satisfy means-ends scrutiny. NRA, 700 F.3d at 196. The Fifth Circuit settled on the former

explanation. “For now, we state that a longstanding, presumptively lawful regulatory measure . . .

would likely fall outside the ambit of the Second Amendment.” Id. The Court should note that in

so doing, the Fifth Circuit read “longstanding” as an element of a presumptively lawful

regulation, thus “necessarily . . . examin[ing] the nature and extent of the imposed condition.”

Marzzarella, 614 F.3d at 92 n.8.

       And indeed, the Fifth Circuit did not end its opinion there, upholding the law merely

because the law regulates gun sales. Rather, the Court proceeded to examine the historical

pedigree of that specific type of restriction, a restriction based on age, on Second Amendment




                                                 17
 Case 4:14-cv-00539-O Document 22 Filed 10/17/14                  Page 27 of 45 PageID 252



rights. If all commercial restrictions on the sale of arms were presumptively constitutional, NRA

would have been a much different, much shorter opinion.

       Nor did the Fifth Circuit end its NRA discussion with a citation to its pre-Heller decision

in United States v. King, 532 U.S. 505 (5th Cir. 1976). The Government erroneously asserts that

King “dr[ew] a sharp distinction between ‘right to keep and bear arms’ and ‘dealing in

firearms.’” Gov’t Br., Dkt. 16, at 25 (citing King without pinpoint). Were that true, perhaps NRA

could have been a much shorter opinion, or at least, would have offered some discussion of why

King did not resolve it.

       But King contains no such holding. The Government seriously misquotes, and thus over-

reads, that case. King does not hold that “dealing in firearms” is unprotected by the Second

Amendment. Rather, King provides that the defendant “was neither charged with nor convicted

of keeping and bearing arms. He was charged with and convicted of engaging, without a license,

in the business of dealing in firearms and of conspiring with others so to do.” King, 532 F.2d at

510 (emphasis added) (citation omitted). Plaintiffs would agree that the Second Amendment is

not inherently offended by laws licensing gun dealers. Neither, for that matter, is the Second

Amendment necessarily violated by laws licensing the keeping and bearing of arms. It is the

implementation, not the concept, of licensing that is typically litigated under the Second

Amendment in appropriate cases.

       King’s perfunctory endorsement of licensing as not-inconsistent with the Second

Amendment cited two cases: United States v. Miller, 307 U.S. 174 (1939), which until Heller

was widely misunderstood to limit the Second Amendment to a militia purpose; and United

States v. Day, 476 F.2d 562 (6th Cir. 1973), which did not discuss the Second Amendment


                                                18
  Case 4:14-cv-00539-O Document 22 Filed 10/17/14                    Page 28 of 45 PageID 253



beyond citing Miller for the unremarkable proposition that Second Amendment rights are not

absolute. King simply cannot be read to endorse the breathtaking proposition that there is no right

to acquire arms.

        Of course, it bears repeating that not long ago, the Fifth Circuit struck down a ban on the

sale of sex toys, because the possession and use of sex toys is protected by the Fourteenth

Amendment right of intimate relations. Reliable Consultants. It would be strange indeed for the

Fifth Circuit to hold that the enumerated right to have handguns does not likewise secure the

corollary right to sell and buy arms, especially as the acquisition of arms, unlike the acquisition

of sex toys, is a necessary and complete predicate to exercising the relevant constitutional right.

        Undaunted, the Government draws upon the Fourth Circuit’s unpublished opinion in

United States v. Chafin, 423 Fed. Appx. 342 (4th Cir. 2011). In that case, the defendant asserted

that the Second Amendment protects “the sale of a firearm to an unlawful user of drugs,”—very

far from the issues here—and he did “not point[] this court to any authority” for the proposition

that there exists a right to sell firearms, again, unlike the instant brief. Id. at 344 (emphasis

added). To the extent the Fourth Circuit did not locate such authority itself, Id., respectfully, that

court missed a few sources, see supra. Indeed, the only authority that the Fourth Circuit cited for

its proposition that there is no right to firearms commerce was a case holding that there is no

First Amendment right to distribute obscenity. See Chafin, 423 Fed. Appx. 344 (citing United

States v. 12 200-Foot Reels of Super 8mm. Film, 413 U.S. 213 (1973)). But obscenity is

unprotected by the First Amendment; handguns are protected by the Second Amendment. And

the Supreme Court’s law for the right to sell constitutionally-protected articles is quite different,

as is binding Fifth Circuit precedent.


                                                   19
 Case 4:14-cv-00539-O Document 22 Filed 10/17/14                    Page 29 of 45 PageID 254



       For the same reasons, the Court cannot rely upon Teixeira v. Cnty. of Alameda, No.

12-cv-03288, 2013 U.S. Dist. LEXIS 128435 (N.D. Cal. Sept. 9, 2013), appeal pending, No. 13-

17132 (9th Cir. filed October 23, 2013), which did little more than recite Chafin’s perfunctory

reasoning, and then misstate the Third Circuit’s holding in Marzzarella as having declared that

there is no right to purchase handguns. As shown supra, Marzzarella came to the exact opposite

conclusion. 614 F.3d at 92 n.8.

       Finally on this point, the Government raises the District of Montana’s passing

observation that “Heller said nothing about extending Second Amendment protection to firearm

manufacturers or dealers.” Mont. Shooting Sports Ass’n v. Holder, No. 09-cv-147, 2010 U.S.

Dist. LEXIS 104301, at *67 (D. Mont. Aug. 31, 2010), aff’d on other grounds, 727 F.3d 975 (9th

Cir. 2013). “But since [Heller] represents this Court’s first in-depth examination of the Second

Amendment, one should not expect it to clarify the entire field, any more than our first in-depth

Free Exercise Clause case left that area in a state of utter certainty.” Heller, 554 U.S. at 635

(citation and internal punctuation omitted). Moreover, the Government’s quotation of Montana

Shooting is incomplete. The opinion continues: “Heller recognized that firearms manufacturers

and dealers are properly subject to regulation by the federal government under existing federal

firearms laws.” Montana, at *67. Again, that much is undisputed here. Yet the Montana court

added a footnote citing King, discussed supra; one pre-Heller case decided under the erroneous

“collective rights” regime, Olympic Arms v. Magaw, 91 F. Supp. 2d 1061, 1071( E.D. Mich.

2000), and another case upholding the prohibition of arms not suitable for sporting purposes,

Gilbert Equip. Co. v. Higgins, 709 F. Supp. 1071, 1081 (S.D. Ala.1989), a dubious outcome

today in light of Heller’s holding that the Second Amendment’s core interest is self-defense.


                                                 20
 Case 4:14-cv-00539-O Document 22 Filed 10/17/14                   Page 30 of 45 PageID 255




       The Government can no more ban the sale of protected guns than it can ban the sale of

protected books, Virginia v. Am. Booksellers Ass’n, 484 U.S. 383, 393 (1988); contraceptives,

Carey, supra, 431 U.S. 678; Griswold v. Connecticut, 381 U.S. 479 (1965), or (in this circuit)

sex toys, Reliable Consultants, supra, 517 F.3d 738. The argument that, although there is a right

to keep and bear handguns, there is no right to acquire handguns, lacks merit.

       C.      Prohibiting the Purchase of Arms Based on Residence Is a Novel Practice.

       Heller instructed that the Second Amendment must be understood according to its

original public meaning. “In interpreting this text, we are guided by the principle that ‘[t]he

Constitution was written to be understood by the voters; its words and phrases were used in their

normal and ordinary as distinguished from technical meaning.’” Heller, 554 U.S. at 576

(quotation omitted). “Constitutional rights are enshrined with the scope they were understood to

have when the people adopted them, whether or not future legislatures or (yes) even future judges

think that scope too broad.” Id. at 634-35.

       Whatever its language might signify to modern eyes, “an amendment to the Constitution

should be read in a ‘sense most obvious to the common understanding at the time of its adoption,

. . . For it was for public adoption that it was proposed.’” Adamson v. California, 332 U.S. 46, 63

(1947) (Frankfurter, J., concurring) (citation omitted), overruled on other grounds by Malloy v.

Hogan, 378 U.S. 1 (1964). The rule is especially salient when interpreting the Bill of Rights. “A

bill of rights may be considered, not only as intended to give law, and assign limits to

government . . . , but as giving information to the people [so that] every man of the meanest




                                                 21
 Case 4:14-cv-00539-O Document 22 Filed 10/17/14                   Page 31 of 45 PageID 256



capacity and understanding may learn his own rights, and know when they are violated. . . .” 1 St.

George Tucker, Blackstone’s Commentaries, app. 308 (1803).

       The Supreme Court further advised that “longstanding” laws can inform the “scope” of

the right that the Framers ratified, Id., at 626-27; NRA, 700 F.3d at 196, because the fact that the

right’s ratification did not disturb certain practices may be evidence that the Framers or those

who followed soon after did not view such practices as inconsistent with the right. And “Heller

demonstrates that a regulation can be deemed ‘longstanding’ even if it cannot boast a precise

founding-era analogue.” NRA, 700 F.3d at 196.

       But “1791, the year the Second Amendment was ratified—[is] the critical year for

determining the amendment’s historical meaning.” Moore v. Madigan, 702 F.3d 933, 935 (7th

Cir. 2012) (citing McDonald, 130 S. Ct. at 3035 & n.14). “[T]he relevant time period for the

first-step historical analysis is 1791.” Firearms Retailers, 961 F. Supp.2d at 935. And with

respect to the impact of “longstanding” laws, Heller and McDonald “made clear that the scope of

the Second Amendment right depends not on post-twentieth century developments, but instead

on the understanding of the right that predominated from the time of ratification through the

nineteenth century.” Peruta v. Cnty. of San Diego, 742 F.3d 1144, 1175 n.21 (9th Cir. 2014).

       The concept of “longstanding” regulation consistent with the right must be tied in some

meaningful way to the Framing Era, for if a modern enactment is viewed as thereby limiting a

constitutional right’s scope, the right is effectively erased. Everything and anything that a

legislature enacts is thereby automatically self-constitutionalizing. But Heller was careful to

confirm that “future legislatures” could not override “the scope [rights] were understood to have

when the people adopted them,” Heller, 554 U.S. at 634.


                                                 22
 Case 4:14-cv-00539-O Document 22 Filed 10/17/14                   Page 32 of 45 PageID 257



       Thus, as the Fifth Circuit put it, “we look to whether the law harmonizes with the

historical traditions associated with the Second Amendment guarantee.” NRA, 700 F.3d at 194.

“[A] longstanding measure that harmonizes with the history and tradition of arms regulation in

this country would not threaten the core of the Second Amendment guarantee.” Id. at 196. To

carve the interstate acquisition of handguns out from the Second Amendment right to acquire

handguns, the Government must show, if not an on-point 1791 enactment, at least some evidence

that the Framers would have accepted such a restriction.

       This, the Government cannot do. The interstate handgun transfer prohibition is not

“longstanding.” It dates only to 1968—far from the Founding Era and the post-ratification period.

And contrary to the Government’s arguments, it does not “harmonize with the history and

tradition of arms regulation in this country” in a manner that might inform the scope of Second

Amendment rights. Id.

       The Government claims that “[b]etween 1909 and 1939, at least 11 States enacted laws

restricting the acquisition, possession, or carrying of one or more types of firearms to State

residents.” Gov’t Br., Dkt. 16, at 26 (citing Gov’t Exh. 2, Dkt. 17-1, at App. 102-08). Even were

the statement true—and it is demonstrably untrue (see discussion infra)—it would not support

the Government’s legal assertions about the longstanding nature of an interstate handgun transfer

ban.

       First, the Court will note that all of the Government’s cited provisions are state

enactments. It cannot be said that state legislatures acting from 1909 through 1939 reflected

compliance with the Second Amendment’s requirements, because those legislatures were on

notice that they were not bound to respect Second Amendment rights at all. See United States v.


                                                 23
 Case 4:14-cv-00539-O Document 22 Filed 10/17/14                   Page 33 of 45 PageID 258



Cruikshank, 92 U.S. 542 (1876) (holding the Fourteenth Amendment does not apply the Second

Amendment as against the States), overruled, McDonald v. City of Chicago, supra, 130 S. Ct.

3020.

        Second, the years 1909 through 1939 all fall within the twentieth century. While “a

precise founding-era analogue” is not required, NRA, 700 F.3d at 196, at a minimum there must

be some effort to show that a modern enactment echoes a type of restriction known to the

Framers. The Fifth Circuit upheld a ban on FFL handgun sales to adults ages 18-20 because (1) it

reasoned that the Framers tolerated the disarmament of “particular groups for public safety

reasons,” Id. at 200, (2) that minors lacked the civic virtue viewed as a prerequisite to exercising

the right to arms, Id. at 201, and (3) that 21 was indeed the age of majority at common law, at the

Framing Era and until the 1970s. Id. at 201-02. In contrast, there is nothing to show that during

the Framing Era (or, indeed, ever), non-residents were viewed as a dangerous class of people

lacking the necessary civic virtue to exercise the right to arms. Notably, the interstate handgun

transfer ban was enacted barely three years before the ratification of the Twenty-Sixth

Amendment, reducing the age of majority for voting purposes from 21 to 18.

        Third, eight of the Government’s eleven twentieth-century state laws relate only to the

carrying of handguns, not the sale or purchase of handguns. This case has nothing to do with the

carrying of firearms, an issue that raises very different regulatory concerns. And even as to the

laws regulating the carrying of handguns, not all of these limited handgun carrying to state

residents.

        The Government’s cited laws of West Virginia, Georgia, Montana, New York, Illinois,

Massachusetts, New Jersey, and Maine have nothing to do with the purchase or sale of handguns.


                                                 24
 Case 4:14-cv-00539-O Document 22 Filed 10/17/14                   Page 34 of 45 PageID 259



Indeed, Georgia’s Supreme Court found that the state’s carry license law, advanced here by the

Government to justify a sales prohibition, had no application to commerce. In the course of

dismissing various hyper-literal statutory constructions leading to absurd results, that court

offered:

       It is lawful to sell pistols. But a similar construction might make it impossible for the
       carrier to deliver them to the dealer, or the dealer to deliver them to the customer. We will
       not anticipate that any such construction will be given, but one which will carry out the
       legislative purpose.

Strickland v. State, 137 Ga. 1, 12, 72 S.E. 260, 265 (Ga. 1911).

       Moreover, to the extent these states required a license to carry a handgun, three of them—

Illinois, New Jersey, and Maine—required a license only to carry a handgun in a concealed

manner. Non-resident handgun carriers openly carrying handguns were left undisturbed. The

Government’s reliance upon New Jersey law is particularly inapt, because that state has long

required a permit to purchase handguns that is made available to non-residents. See N.J. Stat.

Ann. § 2C:58-3(d).

       And to the extent that residence was required to obtain carry permits, the laws made fairly

clear that the reason for doing so was to ensure that the only people carrying, or carrying

concealed, were known to and deemed safe by local authorities. This much was also reflected by

two of the Government’s eight carry law examples, which expressly authorized the licensing of

non-residents maintaining business in the state. Apart from the carry license available to

residents, New York allowed handguns to be possessed by householders, storekeepers,

merchants, and messengers. Gov’t Exh. 2, Dkt. 17-1, App. 104. Massachusetts offered concealed




                                                 25
  Case 4:14-cv-00539-O Document 22 Filed 10/17/14                    Page 35 of 45 PageID 260



carry licenses to “any person residing or having a place of business within the jurisdiction of the

person issuing the license.” Id. at App. 106 (emphasis added).

       The 1919 North Carolina law cited by the Government, requiring a permit to purchase a

handgun, required only that a permit be issued by “the clerk of the Superior Court of the county

in which such purchase, sale or transfer is intended to be made.” Id. at App. 105. Permits were

available to “any person . . . in any such county,” and were not expressly limited to state

residents. Id. The Government infers a residence requirement from the permit form, in which the

applicant’s residence address might be presupposed to be within the state, but the alternative

options for describing the address leave even this much unclear. Id. at App. 105-06. It appears

that North Carolina’s residence requirement dates only to 1979, with the adoption of S.B. 213,

“An Act to Require that Weapons Permits be Obtained from the County of Residence of the

Purchaser,” N.C. Laws 1979, c. 895.

       That leaves the Government with only Missouri and Michigan’s laws, from 1921 and

1927, respectively, as limiting handgun purchases to residents who have obtained permission

from their local sheriff or other police official. In Missouri, the Sheriff was to “be satisfied that

the person applying for the same is of good moral character and of lawful age and that the

granting of the same will not endanger to public safety.” Gov’t Exh. 2, Dkt. 17-1, at App. 106.

Michigan presupposed that the police would ensure that the purchaser had not “been convicted of

a felony or adjudged insane in this state or elsewhere.” Id. at App. 107.

       Before the Internet age, legislatures might have viewed transients as being less

susceptible to effective background checks than established residents. If the Sheriff’s personal

familiarity with an individual might be disqualifying, it might have been deemed impossible to


                                                  26
  Case 4:14-cv-00539-O Document 22 Filed 10/17/14                    Page 36 of 45 PageID 261



review the background of a traveling stranger. But no state generally disarmed visitors, and it

cannot be said that non-residents were deemed dangerous in the same sense as were minors,

lunatics, and felons. But even so, two state laws from period 1921 through 1927, far removed

from the Framing Era, enacted by legislatures operating under the Supreme Court’s license to

ignore the Second Amendment, see Cruikshank, cannot establish a “longstanding” exemption

from the normal understanding that there must be a fundamental right to acquire arms.

“[C]itation to a few isolated statutes—even to those from the appropriate time period—fall[] far

short of establishing that gun sales and transfers were historically unprotected by the Second

Amendment.” Illinois Retailers, 961 F. Supp. 2d at 937 (citation omitted). The Government has

shown much less here.

        The Court must proceed to the second step of the analysis, and measure the constitutional

right against the regulatory interest.

III.    THE INTERSTATE HANDGUN TRANSFER BAN FAILS ANY LEVEL OF MEANS-ENDS
        SCRUTINY .

        A.      The Interstate Handgun Transfer Ban Is Subject to Strict Scrutiny.

        The interstate handgun transfer ban is very much “a salient outlier in the historical

landscape of gun control.” NRA, 700 F.3d at 205. Laws of this nature were virtually unknown

prior to its late twentieth-century enactment. And banning handgun sales to all law-abiding,

responsible adults, outside their home state, plainly threatens the Second Amendment right at its

core. The law is not “analogous to longstanding, presumptively lawful bans on possession by

felons and the mentally ill,” Id. at 206, nor does it target “a discrete category” of adults, Id. at

205; it targets everyone. All handgun consumers are severely impacted by being denied a national



                                                   27
  Case 4:14-cv-00539-O Document 22 Filed 10/17/14                  Page 37 of 45 PageID 262



market for handguns. Our national union presupposes something of a free trade zone among its

core benefits. A law confining to the borders of one’s state all trade in an article to which the

people have an enumerated, fundamental right cannot be the subject of reduced scrutiny.

       It bears repeating: “A regulation that threatens a right at the core of the Second

Amendment—for example, the right of a law-abiding, responsible adult to possess and use a

handgun to defend his or her home and family—triggers strict scrutiny.” NRA, 700 F.3d at 195;

see also United States v. Masciandaro, 638 F.3d 458, 470 (4th Cir. 2011) (“we assume that any

law that would burden the ‘fundamental,’ core right of self-defense in the home by a law-abiding

citizen would be subject to strict scrutiny”). The interstate handgun transfer ban squarely fits this

description.

       Likewise on-point is the Supreme Court’s decision in Carey, supra, 431 U.S. 678,

striking down a New York law barring all but licensed pharmacists from selling contraceptives

under strict scrutiny. The Court began by noting that “[t]he burden is, of course, not as great as

that under a total ban on distribution.” Id. at 689.

       Nevertheless, the restriction of distribution channels to a small fraction of the total
       number of possible retail outlets renders contraceptive devices considerably less
       accessible to the public, reduces the opportunity for privacy of selection and purchase,
       and lessens the possibility of price competition.

Id.; cf. Annex Books, Inc. v. City of Indianapolis, 581 F.3d 460, 463 (7th Cir. 2010) (“laws

requiring the closure of bookstores at night and on Sunday are likely to curtail sales, the public

benefits of the restrictions must be established by evidence, and not just asserted”).

       Admittedly, the Fifth Circuit applied only intermediate scrutiny to test the prohibition on

FFL sales to 18-20 year olds, “to the extent that these laws resemble presumptively lawful



                                                  28
  Case 4:14-cv-00539-O Document 22 Filed 10/17/14                   Page 38 of 45 PageID 263



regulatory measures . . .” NRA, 700 F.3d at 206. But the Fifth Circuit also explained that its “two-

step” methodology for resolving Second Amendment cases draws heavily upon First Amendment

doctrine. Id. at 197. The Fifth Circuit further explained that First Amendment law would further

guide the selection of a standard of review at the second step.

        In harmony with well-developed principles that have guided our interpretation of the First
        Amendment, we believe that a law impinging upon the Second Amendment right must be
        reviewed under a properly tuned level of scrutiny—i.e., a level that is proportionate to the
        severity of the burden that the law imposes on the right.

Id. at 198.

        Had the Government banned the interstate sale of books—perhaps because local

bookstores were better able to police community standards for obscenity— the Government

could be expected to make the same arguments seen here: consumers remain free to purchase any

book so long as their local store would stock it, and booksellers may sell any book that is legal to

possess in their jurisdiction, so long as purchaser was a local resident less likely to smuggle the

books across state lines into more restrictive jurisdictions. But it would be very difficult to

imagine the Fifth Circuit applying only “intermediate” scrutiny to such a law, even if it could be

said to be content-neutral.

        Indeed, the other two factors leading to intermediate scrutiny in NRA are not presented

here. The 18-20 year olds ban was “sufficiently bounded” in large part because handguns were

still available on the unregulated private market, or through family transfers. Id. at 207. The

restriction here is more pervasive, applying to all handguns, however acquired, if they are

acquired beyond the borders of one’s state. And unlike the age qualification, the interstate




                                                  29
  Case 4:14-cv-00539-O Document 22 Filed 10/17/14                   Page 39 of 45 PageID 264



handgun transfer ban does not have a “temporary effect.” Id. Wherever one lives, one is denied

the right to directly acquire handguns in the rest of the United States.

        But in the final analysis, the exact level of scrutiny is unimportant. The interstate handgun

transfer ban fails all the same.

        B.      Blanket Prohibition of Interstate Handgun Transfers Does Not Properly Fit
                Any Governmental Interest.

        Americans are ordinarily entitled to exercise their constitutional rights throughout the

territory of the United States. For example, “one is not to have the exercise of his liberty of

expression in appropriate places abridged on the plea that it may be exercised in some other

place.” Schad v. Mt. Ephraim, 452 U.S. 61, 76-77 (1981) (quoting Schneider v. State, 308 U.S.

147, 163 (1939)). In Ezell, the district court denied a motion to preliminarily enjoin Chicago’s

gun range ban, theorizing that plaintiffs who sought to use gun ranges were only harmed by the

added expense of traveling outside the city to do so. The Seventh Circuit reversed. “This

reasoning assumes that the harm to a constitutional right is measured by the extent to which it

can be exercised in another jurisdiction. That’s a profoundly mistaken assumption.” Ezell, 651

F.3d at 697.

        Invoking the rule of Schad and Schneider, the Seventh Circuit explained:

        The same principle applies here. It’s hard to imagine anyone suggesting that Chicago may
        prohibit the exercise of a free-speech or religious-liberty right within its borders on the
        rationale that those rights may be freely enjoyed in the suburbs. That sort of argument
        should be no less unimaginable in the Second Amendment context.

Id. Instead, the city was required to justify its restriction under “a more rigorous showing” than

intermediate, “if not quite ‘strict scrutiny,’” Id. at 708, something it could not do.




                                                  30
  Case 4:14-cv-00539-O Document 22 Filed 10/17/14                  Page 40 of 45 PageID 265



         Neither can the Government here meet its burden, under strict or intermediate scrutiny, of

justifying a stifling residential restriction of Second Amendment rights. Under strict scrutiny, the

Government carries the burden of proving the law “furthers a compelling interest and is narrowly

tailored to achieve that interest,” Citizens United v. FEC, 130 S. Ct. 876, 898 (2010) (citation

omitted), a burden that cannot be met where less restrictive alternatives are available. Ashcroft v.

ACLU, 542 U.S. 656, 666 (2004). Intermediate scrutiny “requires the government to demonstrate

a ‘reasonable fit’ between the challenged regulation and an ‘important’ government objective.”

NRA, 700 F.3d at 195. “The regulation need not be the least restrictive means of serving the

interest, but may not burden more [conduct] than is reasonably necessary.” Marzzarella, 614 F.3d

at 98.

         It is unclear what is so compelling, or important, about ensuring that handgun transfers go

through a local middleman who does absolutely nothing that the initial federal firearms licensee

cannot do as well. The out-of-state dealer, and the local middleman, hold the same federal

license, with identical responsibilities. Federal law already charges FFLs selling rifles and

shotguns with adherence to the laws of other jurisdictions when selling firearms to out-of-state

residents. If Mance can follow an out-of-state rifle law, he can follow an out-of-state handgun

law. Courts are rightfully skeptical of state residency restrictions based on the concept that the

people of one state cannot gain sufficient knowledge of laws or conditions in another state. Cf.

O’Reilly v. Bd. of Appeals, 942 F.2d 281 (4th Cir. 1991) (non-resident taxi driver can prove

familiarity with out-of-state geography). Attorneys, for example, are required to know and

uphold the laws of the various jurisdictions in which they are barred, yet that does not allow




                                                 31
 Case 4:14-cv-00539-O Document 22 Filed 10/17/14                  Page 41 of 45 PageID 266



states to restrict bar membership to in-state residents. Supreme Court of New Hampshire v.

Piper, 470 U.S. 274, 285 (1985).

       The notion that local handgun laws are necessarily more complicated, to the point of

being unknowable by out-of-state firearms dealers, is specious. Few laws have vexed courts as

much as regulations seeking to ban particular rifles as “assault weapons.” See, e.g. Peoples

Rights Org. v. City of Columbus, 152 F.3d 522 (6th Cir. 1998) (striking down five definitions of

“assault weapon” as unconstitutionally vague); Springfield Armory v. City of Columbus, 29 F.3d

250, 252 (6th Cir. 1994) (rifle “ordinance is fundamentally irrational and impossible to apply

consistently by the buying public, the sportsman, the law enforcement officer, the prosecutor or

the judge”); Harrott v. County of Kings, 25 Cal.4th 1138, 1153, 25 P.3d 649, 659 (2001)

(adopting saving construction of California Assault Weapons Control Act provisions raising

“serious and doubtful constitutional questions as applied to ordinary citizens”). And yet as a

matter of federal law, licensed firearms dealers are entrusted to sell long arms in compliance with

all state and local laws throughout the United States, to the residents of any American city.

       In any event, many jurisdictions—including the one in which the Hansons

reside—remove all hypothetical guesswork from handgun transactions by requiring police pre-

approval of any handgun transfer. D.C. Code § 7-2502.06(a); see also, e.g., Haw. Rev. Stat. §

134-2; Mich. Comp. Laws § 28.422(1); N.C. Gen. Stat. § 14-402(a). If the District has satisfied

itself that an individual may acquire and bring home a handgun, following its famously rigorous

handgun registration procedures, it should not matter—and to the District government, it no

longer matters—whether a dealer delivers the handgun inside or outside the District. As the

Government can accept Mance honoring an approved rifle registration certificate from the


                                                32
 Case 4:14-cv-00539-O Document 22 Filed 10/17/14                   Page 42 of 45 PageID 267



District of Columbia’s Metropolitan Police Department, it is illogical for it to resist allowing him

to honor identical District Police certificates issued for handguns.

       However compelling might be the Government’s interests in assuring that handgun

consumers comply with their local firearms laws, that interest is adequately satisfied in the same

manner that the Government satisfies its interest in promoting compliance with local long gun

laws: by mandating that licensed firearms dealers follow local laws. And the Government has no

valid independent regulatory interest, compelling or otherwise, in assuring compliance with local

firearms laws where the consumers’ local authorities pre-approve handgun transactions.

       Given licensed dealers’ ability to follow the law, the feasability of adequate background

check systems, and the existence of local pre-transfer approval procedures which the

Government already accepts with respect to other firearms, prohibiting all interstate handgun

transfers is obviously not a narrowly-tailored solution to any problem. To the extent the evasion

of local handgun laws may be a problem, far less restrictive yet no less effective alternatives are

already in place. Even if there is something about local handgun laws that make them inscrutable

to out-of-state FFLs, in a manner different than long gun laws, the Government could at a

minimum authorize interstate transfers to residents of localities, such as Washington, D.C.,

whose strict pre-transfer licensing requirements make circumvention impossible.

IV.    THE INTERSTATE HANDGUN TRANSFER BAN VIOLATES PLAINTIFFS’ RIGHT TO
       EQUAL PROTECTION .

       The Fifth Amendment’s Due Process Clause has long been understood to bind the federal

government to standards of equal protection. Bolling v. Sharpe, 347 U.S. 497, 499 (1954).

“Equal protection analysis in the Fifth Amendment area is the same as that under the Fourteenth



                                                 33
 Case 4:14-cv-00539-O Document 22 Filed 10/17/14                   Page 43 of 45 PageID 268



Amendment.” Buckley v. Valeo, 424 U.S. 1, 93 (1976) (citations omitted). Equal protection

analysis demands that heightened scrutiny be applied in cases which burden fundamental rights

or target suspect classes. Romer v. Evans, 517 U.S. 620, 621 (1996).

       Plaintiffs do not contend that non-state residents constitute a suspect class for purposes of

equal protection analysis. However, it is plainly clear that the interstate handgun transfer ban

burdens the Second Amendment right to keep and bear arms. Responsible, law abiding

Americans who are otherwise identically situated are classified differently in their exercise of the

right to acquire a handgun only on account of their residence. And licensed gun dealers are

unable to sell handguns to some customers solely on account of their location outside the

putative customers’ home state.

       Plaintiffs acknowledge that equal protection analysis may not be reached where specific,

substantive rights analysis is available. However, the Government takes the position that no

substantive rights are implicated, which would leave equal protection principles in play. Even in

the absence of a fundamental right or suspect class, the interstate handgun transfer ban fails

rational basis review. It is not rational to prohibit a handgun transaction, on a non-circumvention

rationale, when there are no local laws to circumvent because the transaction is fully legal in both

the buyer and seller’s home jurisdiction. It is also not rational to prohibit a handgun transaction,

on a non-circumvention rationale, where the same FFL and the same consumer are allowed to

engage in long gun transactions—both as a general matter, because there is no distinction

between one’s ability to understand and follow handgun, as opposed to long gun, law; and

especially, where local laws treat handgun and long gun transactions identically.




                                                 34
 Case 4:14-cv-00539-O Document 22 Filed 10/17/14                    Page 44 of 45 PageID 269



       Plaintiffs submit, preferring to err on the side of caution, that the irrational and arbitrary

classifications detailed here would violate the Fifth Amendment’s equal protection principles

even were the Government correct (and it is not) about the absence of a fundamental right.

                                            CONCLUSION

       Plaintiffs’ motion for summary judgment should be granted.

       Dated: October 17, 2014                     Respectfully submitted,

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                                                 35
 Case 4:14-cv-00539-O Document 22 Filed 10/17/14                    Page 45 of 45 PageID 270



                                        Certificate of Service


       On October 17, 2014, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing

system of the court. I hereby certify that I have served all parties electronically or by another

manner authorized by Federal Rule of Civil Procedure 5(b)(2) or the local rules



                                               /s/ Alan Gura
                                               Alan Gura
